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Bes 2 tot Complaint fora (ial Case Allewing Broach of Contract

UNITED STATES DISTRICT COURT

for the

Case No.

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COMPLAINT FOR A CIVIL CASE ALLEGING BREACH OF CONTRACT
(28 U.S.C. § 1332; Diversity of Citizenship)

The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name Polini ral (Ns Alene lon Gre Learceys Ay; ler
Street Address VO Boy VONX3
City and County Chic, 40)
State and Zip Code —\\ “0s (06I0
Telephone Number B2- “ond -TTb6f
E-mail Address Bludoery 003'7@ alto . Cord

RB. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government apency, an organization, or a corporation. For an individual defendant,
include the person's job or title afkoown), Attach additional pages if needed.

Page | of 5
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Pb aRew, 12/16) Complaint fora Civil Case Allowing Breach of Contract

li. Basis for Jurisdicion

Federal courts are Courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the sume State as any plaintiff. Explain how these jurisdictional requirements have been met.
AL The Plaintiff(s)
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The plainutt, cave” Beh ‘ : is a citizen of the
Phe plainutt, came Pedonies, (7s Hene longue Lawert Miller sa citizen o

i State of ¢ , * ARS
| State OF games Dhinets

' 2. Ifthe plaintiff is a corporation

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3 | The plamuft, fawnes SNA , is incorporated
i | under the laws of the State of prance A) [A-

and has its principal place of business in the State of gamies

df mare than one plaintiff is named inthe complaint, attach an additional page providing the
same information for each additional plaintiff.)

B. The Defendant(s)

] if the defendant is an individual Sewies Aichacr J . Duco

The defendant, (remes Decudment on Miva . AfQars Jigs acitizen of
ii the State of mune: THhrpr> Springfield “4 . Or is a citizen of
; Cfaveian natin A [A ‘ .

2. If the defendant is a corporation

The defendant, jeame) Maediovres\ Crrardl Buceer _18 Incorporated under

the laws of the State of (names Ack a, Uirce LMA and has its
principal place of business in the State of dunes ACN Ag ton Vi in cA
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Or is incorporated under the laws of dureign nation) AJ 1

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df more than one defendant ix named in the complaint, attach an additional page providing the
same information for each additional defendant.)

C. The Amount in Controversy

The amount in controversy-the amount the plainulf claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because fexplain):

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Defendant No. |
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Street Address \SO\ DD. MeO helen Deck eveared
City and Couny SprieaFielal lina 6270-23!’
State and Zip Code I line, ; 6&2 02- A! T
Telephone Number A) - od - TIE
E-mail Address gifknown) Lan kor)

Defendant No.

Name R Chace! J “Daclo’ uN

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City and County SMe ‘a

State and Zip Code Tk MAS | G2YOR

Telephone Number ON = 499 - Up 62

E-mail Address (if known, Qucldin »Seredbe.. gov

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i Defendant No. 3

mame Nediorval Cuacl Ouro! NERD.
Job or Title fknewas (\\\ Doh Geor Qe. Maen Wane, AD
Street Address Sn AS, calooue”

City and County AN

State and Zip Code U: ; cau “204 -(|3 73

Telephone Number (Fan) TW - Co'7- 27 oo

E-mail Address rif Aresen) ink IY

Defendant No. 4
Name
Job or Tide fif Knuwn}
Street Address
City and County

State and Zip Code

Telephone Number

E-mail Address (if f4newn) -cpemeen i

| Page 2 of 3
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Wt. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought, State how each defendant was
invelved and what each defendant did that caused the plaintiff harm or violated the plaintiffs mghts, mcluding
the dates and places of that invelvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed,

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fame Depachwert: of Ai) te (0h |NER made an agreement or contre “3 ch
aac —F- Zol'7 . The agreement Kdoatrac was feral or writen Uy Inte yO: Under tha a)
i agreement or contract, the pardes were required tu specifi whad the agreument or coniract required cach party te dal a

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The plainulf has complied with the plainulfs obhgations under the contract. -

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State briefly and precisely what damages or other rehef the pluintif asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages, Ac or enchivey (uae — Une Qeicl oy dae

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y. Certification and Closing

Under Federal Rule of Civil Procedure I. by signing below, | certify to the best of my knowledge, information,
and belief that this complain (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay. or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending. modifying. or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

[ avree tu provide the Clerk’s Office with any changes to my address where case-related papers may be
served. | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my vase.

Date of signing: K AU _ QOD
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